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         ORDERED in the Southern District of Florida on December 16, 2022.



                                                                   Peter D. Russin, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________

                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                        FORT LAUDERDALE DIVISION
                                             www.flsb.uscourts.gov

         In re:                                                             Case No. 22-15714-PDR

         POMPANO SENIOR SQUADRON                                            Chapter 11
         FLYING CLUB, INC.,                                                 (Subchapter V)

                     Debtor.
         _______________________________/

             ORDER AWARDING FIRST AND FINAL APPLICATIONS FOR COMPENSATION
               AND EXPENSES BY EDWARD F. HOLODAK, P.A., AS SPECIAL COUNSEL
                               FOR THE CHAPTER 11 DEBTOR

                  THIS CAUSE came before the Court for hearing on December 15, 2022 at 1:30 p.m.

         upon the First and Final Application for Compensation and Expenses by Edward F. Holodak,

         P.A., as Special Counsel for the Chapter 11 Debtor (the "Application”) (ECF No. 74) filed by

         Edward F. Holodak, P.A. (“EFH” or “Applicant”). By way of the Application, EFH seeks

         compensation of its First and Final applications of $2,670.001 and reimbursement of costs in the



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          The fees requested relate only to those services post-petition as reflected on the EFH’s First and Final Fee
         Application [ECF No. 74].
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amount $0.00, for the period July 27, 2022 through November 30, 2022, for a total amount of

$2,670.00.

       There having been no objections filed and the Court being otherwise fully advised in the

premises finds that the following allowances are reasonable under the applicable provisions of

the Bankruptcy Code. Accordingly, it is

       ORDERED and ADJUDGED as follows:

       1.       EFH, as Special Counsel for the Chapter 11 Debtor, is awarded $2,670.00 in fees,

representing 100% of fees requested, and $0.00, in costs for a total amount of $2,670.00, for the

First and Final Period.

       2.       In allowing the foregoing fees, the Court has considered the criteria in 11 U.S.C.

Sections 326 and 330 and the requirements of Bankruptcy Rule 2016 in light of principles stated

in Norman v. Housing Authority of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988);

Pennsylvania v. Delaware Valley Citizen’s Council for Clean Air, 478 U.S. 546 (1986); Blum v.

Stenson, 465 U.S. 886, 897 (1984); Hensley v. Eckerhard, 461 U.S. 424, 433 (1983); each of the

factors that govern the reasonableness of fees as set forth in Matter of First Colonial Corp. of

America, 544 F. 2d 1291 (5th Cir. 1977), and Johnson v. Georgia Highway Express, Inc., 488

F.2d 714 (5th Cir. 1974).



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Submitted by:

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Copy to:
Craig A. Pugatch, Esq.

Attorney Pugatch is directed to serve a conformed copy of this order, immediately upon receipt, on all
parties listed on the Master Service List immediately upon receipt and to file a certificate of service with
the Court.




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